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                                                                                       FILED



                   IN THE UNITED STATES DISTRICT COURT
                                                                                    11:18 am, 7/15/22
                         FOR THE DISTRICT OF WYOMING
                                                                                 Margaret Botkins
                                                                                  Clerk of Court
 FIRST INTERSTATE BANCSYSTEM,
 INC. and FIRST INTERSTATE BANK,

               Plaintiffs,
 vs.                                                      Case No. 021-CV-0067

 DAVID HUBERT ET AL.,


               Defendants.


   ORDER GRANTING IN PART AND DENYING IN PART MOTIONS FOR
 SUMMARY JUDGMENT BY DEFENDANTS HUBERT, CHRISTENSEN, AND
  MARTINSON, AND GRANTING MOTIONS FOR SUMMARY JUDGMENT
      BY DEFENDANTS McCOMB, DICK, NEWMAN, AND PHELPS


       This matter is before the Court on Motions for Summary Judgment filed by

Defendants Hubert, Christensen, McComb, Martinson, Dick, Newman, and Phelps

(collectively, Defendants). ECF 85, 86, 87, 88, 89, 90, 91. Defendants argue Plaintiffs

(collectively, “FIB”) have no evidence that any Defendant engaged in any wrongdoing,

and that FIB’s contract and misappropriation-based tort theories are, as a legal matter,

fatally flawed. FIB argues there are material facts in dispute which preclude summary

judgment and that all of their claims are supported by law.

       For the reasons that follow, the Court concludes there is no triable issue of disputed

fact concerning whether Defendants improperly acquired or misappropriated trade secrets,

or breached FIB’s Code of Conduct by using or sharing confidential information beyond
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legitimate FIB business purposes or by forwarding confidential information to personal

email accounts. The Court also concludes there is no triable issue of disputed fact

concerning whether Defendant McComb breached a duty of loyalty to FIB.

         Finally, the Court concludes there is no triable issue of disputed fact concerning

whether Defendants used misappropriated confidential information about FIB customers

in their new positions to induce those customers to terminate or reduce the scope of their

business relationship with FIB needs, nor is there any triable issue of disputed fact

concerning whether Defendants made misrepresentations to current FIB clients and FIB’s

business partners that FIB would be sold and/or leave the market.

         Consequently, the Court grants the motions for summary judgment filed by

Defendants McComb, Dick, Newman and Phelps, and grants in part and denies in part the

motions for summary judgment filed by Defendants Hubert, Christensen, and Martinson.

The only remaining claim in the case is FIB’s Third Claim for Relief (breach of loyalty)

against Defendants Hubert, Christensen, and Martinson.

                                                   Background

         Prior to identifying what are considered to be undisputed facts, the Court notes that

the briefing contains conclusory and argumentative statements in the “undisputed facts”

sections. 1 Even considering the facts in the lights most favorable to FIB, the Court will not

and is not required to accept or consider statements which are conclusory or argumentative.




1
 FIB’s combined response to the Defendants’ separate statements of fact is difficult to follow for which of Defendants’
facts it disputes. Where the Court can see FIB directly disputes a fact assertion, it is noted as such below. Defendants
also did not help the Court’s task by e-filing non-searchable briefs, declarations and exhibits.

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Undisputed Facts – All Defendants

       As previously explained (ECF 136), FIB is a financial institution, and all seven

Defendants were at-will employees at FIB’s Sheridan branch until their resignations on

March 22, 2021 when they began working for Glacier Bank, which is also referred to in

pleadings as First Bank (herein, “Glacier”). ECF 41, pp. 2-4.

       Around May 2019, FIB published a Code of Conduct. ECF 1-1; ECF 41, p. 3. All

Defendants signed FIB’s Code of Conduct, although no additional separate consideration

was provided in exchange for their signatures. ECF 41, p. 3. All Defendants have the right

to lawfully compete for banking business against FIB. Id. at 4.

       Under a heading entitled “Keep Private Information Private,” the Code of Conduct

states in relevant part:

       . . . Information we gather, process, store, or transmit about First Interstate
       clients, employees, business partners, and others is considered to be Interstate
       property. We are responsible for keeping confidential information safe and
       secure.

   x Use confidential information only for legitimate Company business purposes
     and not for your personal gain or to compete with First Interstate.

   x Keep employees’ and clients’ personal information safe and secure and only
     share it with those who have a legitimate company business need to know.

   x Don’t share customer information with anyone inside or outside the
     Company unless there is a business need for doing so or unless it’s required
     by law.
                                          ...

   x Don’t forward confidential information to personal email accounts.
     Remember, all email is monitored by the Company. . . .

ECF 1-1, p. 14.

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       FIB alleges it first learned of Defendants’ departure when they submitted their

resignations on March 22, 2021. ECF 104, p. 7. While it is not uncommon for employees

in the financial services industry to transition from one employer to another on the same

day, the fact that Defendants resigned at the same time to join Glacier was uncommon and

immediately raised suspicions by FIB that the departure was coordinated. ECF 41, p. 4;

ECF 104, p. 2. Steve Crow, Hubert’s successor, began working at the Sheridan branch on

March 22, 2021 to assist FIB in the wake of constraints in FIB’s ability to most effectively

service customers because of Defendants’ departures that day. Id. According to FIB,

Defendants’ departures left the FIB branch with virtually no employees to provide services

to its commercial customers and to train new hires. ECF 104, p. 4.

       As to the misappropriation-related claims, FIB has identified 85 documents that FIB

claims Defendants printed shortly before they left FIB. ECF 92, p. 8.

Undisputed Facts – Defendant Hubert

1. Until March 22, 2021, Hubert was the Market President for Northern Wyoming and

   Senior Vice President of FIB. ECF 41, p. 2.

2. In April or May, 2020, Hubert learned from his supervisor (FIB Regional President

   David Bruni) that Glacier was considering a new branch in Sheridan. According to

   Hubert, he was dissatisfied with FIB’s management and direction and its alignment

   with his career goals and philosophy. He knew Christensen was also dissatisfied and

   was considering an immediate resignation, so Hubert told Christensen that he knew of

   a potential new bank opening, which Hubert referred to as a “Plan B” if conditions at

   FIB didn’t improve. ECF 94, p. 4 (citing Hubert Dec., ECF 87-1).

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3. In June 2020, Hubert obtained a contact at Glacier and began a series of meetings about

   Glacier, including to discuss potential employment. Through the course of discussions

   with Glacier, Hubert learned that Christensen, McComb, Martinson and Dick were also

   communicating with Glacier or considering potential employment with Glacier. Hubert

   even participated in two meetings with Glacier and some of these FIB employees. Id.,

   pp. 4-5.

4. During the summer of 2020, Hubert shared three different potential locations for the

   Glacier branch with a Glacier representative. ECF 104, pp. 4-5.

5. In October, 2020, Hubert, McComb, and Christiansen took Glacier representatives on

   a ride around Sheridan. Later in October, Christensen, Hubert and McComb met for

   dinner at Christensen’s home with several Glacier executives, and the executives

   informed these Defendants they wanted to open a branch in Sheridan. Id., p. 5.

6. On a few occasions when Hubert’s supervisor Bruni asked Hubert whether FIB was at

   risk of losing employees, Hubert did not tell Bruni that he and others were engaged in

   discussions with Glacier. However, Bruni knew Hubert was concerned the commercial

   team was unhappy and FIB had a risk of turnover. Another credit officer (Destefano)

   also knew others on the commercial team were frustrated and unhappy with the new

   loan approval process. ECF 94, p. 5.

7. FIB claims Hubert printed three documents shortly before he left FIB. Id., p. 8. By

   sworn declaration, Hubert testified to the documents he printed, the reasons why one of

   the documents was printed for legitimate FIB business purposes, and that the other two

   which he brought with him when he left FIB employment were documents relating to

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   a loan Hubert had personally made to a prospective customer to whom FIB had declined

   to extend credit. Hubert explains that those two documents are not FIB documents, but

   documents for the loan he had personally made. Id., pp. 8-9. FIB disputes that Hubert

   had any legitimate FIB business purposes in printing the documents. ECF No. 104 at

   pp. 11-12. It also disputes that he did not take the documents after he left FIB; to the

   contrary, FIB “inspected Defendants’ offices shortly after their departure and, with one

   exception, none of the documents they printed were left in their offices.” Id. at p. 15.

8. On March 6, 2021, Hubert learned there was a branch manager opening at Glacier and

   he applied for it. On March 8, 2021, he was offered the position subject to a background

   check. On March 11, 2021, Hubert accepted the conditional offer with Glacier. Around

   that same time Hubert learned that Christensen, McComb, Martinson and Dick had also

   accepted conditional employment offers from Glacier. ECF 94, p. 6.

9. Beginning March 19, 2021 and over the weekend, Hubert’s supervisor Bruni tried to

   reach Hubert by telephone and text, and Hubert assumed the purpose was to confront

   him about the situation. The next day, Hubert met with Christensen, Martinson, Dick,

   Newman, Phelps, and another FIB employee at Hubert’s home to discuss their concerns

   that FIB management had learned about their intended departures and would terminate

   them. They decided to submit their resignations the next day. Id., p. 6.

Undisputed Facts – Defendant Christensen

1. Until March 22, 2021, Christensen was an employee of FIB. Christensen held the

   position of Commercial Group Manager II and Vice President of FIB. ECF 41, p. 2.



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2. Christensen began considering leaving FIB in the spring of 2020 for several reasons

   including her frustration with changes to FIB’s loan approval process and her feelings

   that her job wasn’t enjoyable and she no longer felt valued. ECF 92, p. 4 (citing

   Christensen Dec., ECF 85-1). At that time, Christensen learned from her direct

   supervisor, Hubert (who knew she was dissatisfied), that Glacier was considering a new

   branch in Sheridan, and they discussed that, if things did not improve at FIB, Glacier

   could serve as a “Plan B.” Id. An FIB credit officer knew Christensen was frustrated

   with FIB’s new lending model and process for loan approval and the delays it was

   causing. Id. at p. 5.

3. In July 2020, McComb talked to Christensen about employment possibilities with

   Glacier, and a few weeks later, gave Christensen contact information for a Glacier

   representative. Christensen began her own discussions with Glacier about potential

   employment. Id., pp. 4-5.

4. Thereafter, Christensen learned that Martinson and Dick were considering leaving.

   Christensen and McComb had lunch with Martinson and encouraged Martinson to be

   patient and hopefully things would improve at FIB. They also talked about employment

   possibilities with Glacier. Id., p. 5.

5. In October, 2020, Hubert, McComb, and Christiansen took Glacier representatives on

   a ride around Sheridan. Later in October, Christensen, Hubert and McComb met for

   dinner at Christensen’s home with several Glacier executives, and the executives

   informed these Defendants they wanted to open a branch in Sheridan. ECF 104, p. 5.



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6. FIB claims Christensen printed 17 documents shortly before she left FIB. ECF 92, p. 8.

    By sworn declaration, Christensen testified to the documents she printed and those she

    asked Phelps to print relating to Bighorn Airways, the reasons why the documents were

    printed for legitimate FIB business purposes, the disposition (by shredding) of the

    documents, and that she did not bring any documents with her or retain copies when

    she left FIB employment. Id., pp. 8-11.                      FIB disputes that Christensen had any

    legitimate FIB business purposes in printing the documents. ECF No. 104 at pp. 11-

    12. It also disputes that she did not take the documents after she left FIB; to the

    contrary, FIB “inspected Defendants’ offices shortly after their departure and, with one

    exception, none of the documents they printed were left in their offices.” Id. at p. 15

    (citing ECF 82, Jensen Dec. ¶ 4(d)). 2

7. Over the next several months, some or all of Defendants Christensen, Hubert, McComb,

    Martinson and Dick had a series of meetings with Glacier representatives. ECF 92, p.

    5.

8. Before a March 3, 2021, meeting with Glacier representatives at Glacier’s Sheridan

    office, Christensen volunteered to bring other FIB lenders to the meeting. ECF 104, p.

    6.

9. On March 10, 2021, Christensen applied for and received a job offer from Glacier. On

    March 16 and 17, 2021, Christensen told Newman and Phelps (along with another FIB

    employee) that she was likely to be leaving FIB. ECF 92, p. 6.


2
  The Jensen declaration states that a single page was found in one office, but does not identify whose office it was or
the page in question. FIB also cites ECF 106-19, Bruni Depo. p., 111-113, which discusses only Hubert and
Christensen’s former offices, and the Crow Depo. at 55, which concerns only Martinson’s former office.

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10. On March 20, 2021 and over that weekend, FIB Regional President David Bruni tried

    to reach Christensen by telephone and text, and Christensen assumed the purpose was

    to confront her about the situation. The next day, Christensen met with Hubert,

    Martinson, Dick, Newman, Phelps, and another FIB employee at Hubert’s home to

    discuss their concerns that FIB management had learned about their intended departures

    and would terminate them. They decided to submit their resignations the next day. Id.,

    p. 6.

11. By sworn declaration (confirmed by sworn declaration of the Vice President of Bighorn

    Airways, Chris Eisele, ECF 122-4), Christensen did not inform Bighorn Airways that

    she was joining Glacier until after she left her employment with FIB. Id., p. 11. 3

    Bighorn Airways moved their loans from FIB to Glacier “solely based on what it

    believed was in its best interests, including its belief that Christensen and [Glacier]

    could provide it with the best service.” Id., p. 12 (citing Eisele Dec. ¶ 7).

Undisputed Facts – Defendant McComb

1. Until March 22, 2021, McComb was an employee of FIB. McComb held the position

    of Vice President at FIB. ECF 41, p. 2.

2. McComb began considering leaving FIB in August 2019, when he was informed that

    FIB was interviewing candidates for his replacement. In April 2020, further troubled

    by the workload at FIB and its impact on his health and family life, McComb contacted




3
 The pages of depositions that FIB cites to disputes these facts do not controvert that Christensen only informed
Bighorn Airways of her move after she left FIB.

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   Glacier as well as others about potential employment. The discussions with Glacier

   lasted over the next several months. ECF 96, p. 4 (citing McComb Dec., ECF 89-1).

3. In July 2020 and knowing Christensen was unhappy at FIB and considering other

   employment, McComb informed Christensen about the possibility of Glacier opening

   a new branch in Sheridan. The next month he provided Christensen with contact

   information for Glacier. McComb also learned Hubert had been in contact with Glacier,

   and that Martinson was considering leaving FIB. They all had lunch to discuss issues

   at FIB, possible solutions, and the Glacier possibilities. Id.

4. In August or September 2020, Glacier asked McComb to get them resource information

   which he understood as needing to determine the feasibility of opening a branch in

   Sheridan. ECF 104, p. 5.

5. In October 2020, Hubert, McComb, and Christiansen took Glacier representatives on a

   ride around Sheridan. Later in October, Christensen, Hubert and McComb met for

   dinner at Christensen’s home with several Glacier executives, and the executives

   informed these Defendants they wanted to open a branch in Sheridan. ECF 104, p. 5.

6. In October 2020 and knowing Dick was also dissatisfied at FIB, McComb mentioned

   the possibility of Glacier opening a new branch. McComb also suggested to Dick that

   he explore an internal job posting with the FIB Home Loans Division. ECF 96, p. 5.

7. FIB claims McComb printed two documents shortly before he left FIB. Id., p. 8. By

   sworn declaration, McComb testified to the documents he printed, the reasons why the

   documents were printed for legitimate FIB business purposes, the disposition of the

   documents (he left them in his office at FIB), and that he did not bring those documents

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   with him or retain copies when he left FIB employment. Id., pp. 8-9. FIB disputes that

   McComb had legitimate FIB business purposes for printing the documents. ECF No.

   104 at pp. 11-12. It also disputes that he did not take the documents after he left FIB;

   to the contrary, FIB “inspected Defendants’ offices shortly after their departure and,

   with one exception, none of the documents they printed were left in their offices.” Id.

   at p. 15.

8. McComb accepted a contingent employment offer from Glacier on March 8, 2021 and,

   on March 10, 2021, learned from Christensen that Martinson and Dick were also

   accepting positions at Glacier. ECF 96, p. 5.

9. By March 19, 2021, McComb had decided to submit his resignation from FIB on March

   22, 2021. McComb was not present at the meeting at Hubert’s home. McComb had

   worked in the FIB Home Lending group, which has a separate reporting line from the

   Commercial Lending Group that included Defendants Hubert, Christensen, Martinson,

   Dick, Newman, and Phelps. Id.

Undisputed Facts – Defendant Martinson

1. Until March 22, 2021, Martinson was an employee of FIB. Martinson held the position

   of Assistant Vice-President of FIB. ECF 41, p. 2.

2. In 2019, Martinson became unhappy with FIB’s changed approach to local control of

   banking decisions and resolved to seek other employment. He received a number of

   job offers during this time. An FIB credit officer knew Martinson was frustrated with

   FIB’s new centralized lending model and process for loan approval and the delays it

   was causing. ECF 95, p. 4 (citing Martinson Dec., ECF 88-1).

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3. On December 3, 2020, Martinson first had contact with Glacier through a Zoom call

   which also included Dick and Christensen. The discussions on the call concerned

   Glacier’s credit culture, bank structure, and employment potential. Id.

4. FIB claims Martinson printed 12 documents shortly before he left FIB. Id., p. 8. By

   sworn declaration, Martinson testified to the documents he printed, the reasons why the

   documents were printed for legitimate FIB business purposes, and that he did not bring

   those documents with him or retain copies when he left FIB employment. Id., pp. 7-8.

   FIB disputes that Martinson had legitimate FIB business purposes for printing the

   documents. ECF No. 104 at pp. 11-13. It also disputes that he did not take the

   documents after he left FIB; to the contrary, FIB “inspected Defendants’ offices shortly

   after their departure and, with one exception, none of the documents they printed were

   left in their offices.” Id. at p. 15.

5. On March 6, 2021, Martinson applied for a position with Glacier and received a

   conditional job offer on March 8, 2021, which he accepted on March 10, 2021.

   Martinson was on vacation in Mexico after then and didn’t return until the evening of

   March 20, 2021. ECF 95, p. 5.

6. On March 21, 2021, Martinson met with Hubert, Christensen, Dick, Newman, Phelps,

   and another FIB employee at Hubert’s home to discuss their concerns that FIB

   management had learned about their intended departures and would terminate them.

   They decided to submit their resignations the next day. Id., p. 5.




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Undisputed Facts – Defendant Dick

1. Until March 22, 2021, Dick was an employee of FIB and a member of the commercial

   banking unit in Sheridan, Wyoming. Dick held the position of Commercial Relationship

   Manager II. ECF 41, p. 2.

2. In late 2019 and early 2020, Dick began seeking other employment opportunities when

   he became dissatisfied with FIB’s philosophy and culture and his role within the

   company. ECF 93, pp. 3-4 (citing Dick Dec., ECF 86-1).

3. Because Dick wanted to continue working with his colleague and friend Martinson,

   they had several conversations about other employment opportunities, and both reached

   out to some of the same businesses. Id., p. 4.

4. Dick heard from Christensen about possible employment at an undisclosed bank if the

   situation at FIB didn’t change and if Dick wished to leave. Dick heard about Glacier

   from McComb, who knew about Dick’s dissatisfaction at FIB. Id. Dick also learned

   that Christiansen, Hubert, and McComb were scouting out a potential site in Sheridan

   for the Glacier branch. ECF 104, p. 4.

5. In December 2020, Dick began discussions with Glacier through a Zoom call which

   also included Martinson and Christensen. Dick’s discussions with Glacier continued

   over the next few months. Id.

6. FIB claims Dick printed nine documents shortly before he left FIB. ECF 93, p. 7. By

   sworn declaration, Dick testified to the documents he allegedly printed, the reasons why

   the documents were printed for legitimate FIB business purposes, and that, with one

   exception, he did not bring those documents with him or retain copies when he left FIB

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   employment. Dick testified to the document he took with him for future reference,

   stating he removed client-identifying information before he printed it, and that he

   created the document in the first instance. Id., pp. 7-8. FIB disputes that Dick had

   legitimate FIB business purposes for printing the documents. ECF No. 104 at 11-12,

   14-15. It also disputes that he did not take any of the documents after he left FIB; to

   the contrary, FIB “inspected Defendants’ offices shortly after their departure and, with

   one exception, none of the documents they printed were left in their offices.” Id. at 15.

7. Dick applied for a position at Glacier on March 6, 2021 and received a conditional offer

   of employment on March 8, 2021 which included the potential for more money than he

   was making at FIB. Dick accepted the offer on March 10, and his background check

   was completed March 17, 2021. ECF 93, pp. 4-5.

8. On March 21, 2021, Dick met with Hubert, Christensen, Martinson, Newman, Phelps,

   and another FIB employee at Hubert’s home to discuss that FIB management was

   seeking to contact Hubert and Christensen, presumably about their impending

   departure, and that Hubert and Christensen believed FIB intended to terminate them on

   Monday. Dick also believed that he would be terminated and decided to submit his

   resignation the next day. Id., p. 5.

9. Dick testified when he received the pre-litigation demand letter from FIB to destroy

   any copies of FIB documents in his possession, he complied and destroyed the one

   document he had. Id., p. 8.




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Undisputed Facts – Defendant Newman

1. Until March 22, 2021, Newman was an employee of FIB and a member of the

   commercial banking unit in Sheridan, Wyoming. Newman held the position of

   Commercial Relationship Manager. ECF 41, p. 3.

2. FIB claims Newman printed five documents shortly before he left FIB. ECF 97, p. 7

   (citing Newman Dec., ECF 90-1). By sworn declaration, Newman testified to the

   documents she allegedly printed, the reasons why the documents were printed for

   legitimate FIB business purposes, and that she did not bring any of those documents

   with her or retain copies when she left FIB employment. Id., pp. 6-8. FIB disputes that

   Newman had legitimate FIB business purposes for printing the documents. ECF No.

   104 at pp. 11-12, 15-16. It also disputes that she did not take any of the documents

   after she left FIB; to the contrary, FIB “inspected Defendants’ offices shortly after their

   departure and, with one exception, none of the documents they printed were left in their

   offices.” Id. at p. 15.

3. On March 16, 2021, Newman’s manager (Christensen) told her that she (Christensen),

   Hubert and McComb were planning to leave FIB and join Glacier, and that Martinson

   and Dick were considering offers from Glacier. Newman was told by Christensen that,

   with these departures, Newman would have opportunities at FIB, and that she might

   have opportunities at Glacier as well. Later that evening Newman spoke with Hubert

   who told her the same things. Before March 16, 2021, Newman was unaware that

   anyone was considering leaving FIB for Glacier, or that she would have any

   opportunities at Glacier. ECF 97, pp. 3-4.

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4. On March 16, 2021, Newman spoke to Phelps about the potential departures and the

   possibility of their own employment at Glacier. Id., p. 4.

5. On March 17, 2021, Newman applied for, received, and accepted an offer for a position

   with Glacier, and chose to leave FIB for Glacier because she was offered a salary

   increase. Id.

6. On March 21, 2021, Newman met with Hubert, Christensen, Martinson, Dick, Phelps,

   and another FIB employee at Hubert’s home. They discussed that FIB management

   was seeking to contact Hubert and Christensen, presumably about their impending

   departure, and that Hubert and Christensen believed FIB intended to terminate them on

   Monday. Based on that, Newman decided to submit her resignation the next day. Id.

Undisputed Facts – Defendant Phelps

1. Until March 22, 2021, Phelps was an employee of FIB and a member of the commercial

   banking unit in Sheridan, Wyoming. Phelps held the position of Commercial Banking

   Representative. ECF 41, p. 3.

2. On March 16, 2021, Phelps’ manager (Christensen) told Phelps that she (Christensen),

   Hubert and McComb were planning to leave FIB for Glacier, and that Martinson and

   Dick were considering offers from Glacier as well. Phelps learned from Christensen

   that, with these departures, she would have opportunities at FIB, and that she might

   have opportunities at Glacier as well. Phelps texted Newman about the opportunity at

   Glacier. Prior to this conversation, Phelps was unaware of any departures from FIB, or

   any opportunities at Glacier. ECF 98, pp. 3-4 (citing Phelps Dec., ECF 91-1).



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3. FIB claims Phelps printed 37 documents shortly before she left FIB. Id., p. 6. By sworn

   declaration, Phelps testified that one of the documents was printed two weeks before

   she was aware of any possible job with Glacier. She further testified to the other

   documents she allegedly printed, the reasons why the documents were printed for

   legitimate FIB business purposes, and that she did not bring any of those documents

   with her or retain copies when she left FIB employment. Id., pp. 6-10. FIB disputes

   that Phelps had legitimate FIB business purposes for printing the documents. ECF No.

   104 at pp.11-12. It also disputes that she did not take any of the documents after she

   left FIB; to the contrary, FIB “inspected Defendants’ offices shortly after their departure

   and, with one exception, none of the documents they printed were left in their offices.”

   Id. at p. 15.

4. On March 17, 2021, Phelps applied for, received, and accepted an offer for a position

   with Glacier, and chose to leave FIB for Glacier because she was offered a salary

   increase and, being five months pregnant, she thought it would better benefit her family.

   ECF 98, p. 4.

5. On March 21, 2021, Phelps briefly attended a meeting at Hubert’s home with Hubert,

   Christensen, Martinson, Dick, Newman, and another FIB employee who was leaving

   FIB for Glacier. Phelps does not recall anyone discussing when they planned to leave

   FIB during the brief time she was there, and she had already decided to submit her

   resignation the next day. Id.




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                                Applicable Legal Standards

       The Court shall grant a motion for summary judgment if the movant has

demonstrated that there is no genuine dispute as to any material fact, and the movant is

entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). “A fact is material if, under

the governing law, it could have an effect on the outcome of the lawsuit. A dispute over a

material fact is genuine if a rational jury could find in favor of the nonmoving party on the

evidence presented.” Smothers v. Solvay Chems., Inc., 740 F.3d 530, 538 (10th Cir. 2014)

(citing Tabor v. Hilti, Inc., 703 F.3d 1206, 1215 (10th Cir. 2013)).

       In considering a motion for summary judgment, the moving party has the burden of

production and the burden of establishing that summary judgment is appropriate as a matter

of law. Kannady v. City of Kiowa, 590 F.3d 1161, 1169 (10th Cir. 2010). If the movant

does so, the nonmovant “must bring forward specific facts showing a genuine issue for trial

as to those dispositive matters for which it carries the burden of proof.” Id. (quoting Jenkins

v. Wood, 81 F.3d 988, 990 (10th Cir. 1996)). To defeat a motion for summary judgment,

the non-movant must show more than “[t]he mere existence of a scintilla of evidence in

support of the [non-moving party’s] position . . . there must be evidence on which the jury

could reasonably find for the [nonmoving party].” Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 252 (1986). “[E]vidence, including testimony, must be based on more than mere

speculation, conjecture or surmise.” Bones v. Honeywell Int’l, Inc., 366 F.3d 869, 875 (10th

Cir. 2004). Unsubstantiated conclusory allegations carry no probative weight in summary

judgment proceedings and do not create a genuine issue of material fact. Id. (quoting

Phillips v. Calhoun, 956 F.2d 949, 951 n.3 (10th Cir. 1992)). Finally, in ruling on a motion

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for summary judgment, the Court may only consider evidence that can be presented at trial

in a form that would be admissible in evidence — on a non-movant’s objection, evidence

whose content or substance cannot be presented in admissible form at trial should be

disregarded. Fed. R. Civ. P. 56(c)(2); Johnson v. Weld Cty., 594 F.3d 1202, 1210 (10th

Cir. 2010).

                                          Discussion

   1. Statutory Misappropriation Claims under the Defend Trade Secrets Act
      (DTSA), 18 U.S.C. § 1832 et seq., and the Wyoming Uniform Trade Secrets Act
      (WUTSA), Wyo. Stat. §§ 40-24-101 et seq. (First and Second Claims)

       FIB claims each of the Defendants misappropriated its proprietary and confidential

customer information by emailing confidential documents to their personal emails before

leaving FIB, by printing confidential documents, and by retaining possession of the

documents after leaving FIB, and that Defendants are using such information in the course

of their employment with Glacier to their benefit and Glacier’s benefit. ECF 1, pp. 8-10.

       The parties agree that both the DTSA and the WUTSA provide similar protection

to trade secrets and define “trade secret” and “misappropriation” similarly. Consequently,

the Court will focus its discussion on the DTSA.

       The DTSA authorizes an owner of a trade secret that is misappropriated to bring a

civil action “if the trade secret is related to a product or service used in, or intended for use

in, interstate or foreign commerce.” 18 U.S.C. § 1836(b)(1). The statute defines what

information may constitute a “trade secret” in detail; essentially it “is information that

derives economic value from not being generally known that is subject to reasonable

measures of secrecy by it[s] owners.” Select Energy Servs., Inc. v. Mammoth Energy Servs.,

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Inc., No. CIV-19-28-R, 2019 WL 1434586, at *2 (W.D. Okla. Mar. 29, 2019) (citing 18

U.S.C. § 1839(3)). The statute defines misappropriation as:

              (A) acquisition of a trade secret of another by a person who knows or has
                  reason to know that the trade secret was acquired by improper means; or

              (B) disclosure or use of a trade secret of another without express or implied
                  consent by a person who—

              (i)     used improper means to acquire knowledge of the trade secret;

              (ii)    at the time of disclosure or use, knew or had reason to know that the
                      knowledge of the trade secret was—

                      (I)    derived from or through a person who had used improper
                             means to acquire the trade secret;

                      (II)   acquired under circumstances giving rise to a duty to maintain
                             the secrecy of the trade secret or limit the use of the trade
                             secret; or

                      (III) derived from or through a person who owed a duty to the person
              seeking relief to maintain the secrecy of the trade secret or limit the use of
              the trade secret; or

              (iii)   before a material change of the position of the person, knew or had
                      reason to know that—

                      (I)    the trade secret was a trade secret; and

                    (II)     knowledge of the trade secret had been acquired by accident or
              mistake[.]

18 U.S.C. § 1839(5). Thus, misappropriation is the acquisition, disclosure or use of a trade

secret with knowledge or reason to know it is unauthorized. Id.

       Seeking judgment in their favor, Defendants argue that FIB cannot show that many

of the documents contain FIB trade secrets. As to some of the documents, Defendants state

that FIB can neither identify nor produce certain documents it claims were printed. Most

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importantly, Defendants argue FIB cannot produce any admissible evidence from which a

reasonable juror could find they “misappropriated” the documents.

       Before turning to each individual Defendant and the documents printed, the Court

will address FIB’s argument that Hubert, Christensen, Newman, and Martinson used their

remembered information about FIB’s clients to solicit those clients. This allegation is

made in the context of an at-will employment relationship without a non-compete

agreement or a non-solicitation agreement. Therefore, the Defendants are free, upon

leaving employment to use general knowledge, skills, and experience acquired while

working for FIB to engage in competitive employment. However, Defendants remain

under a duty not to use or disclose, to the detriment of the former employer, trade secrets

acquired in the course of previous employment. This prohibition includes memorized trade

secrets as the Court agrees with FIB that the nature of the trade secret acquisition – whether

printed, copied, written down or memorized – is immaterial. What matters is whether the

information meets the definition of a trade secret and, if so, whether the trade secret was

illegally misappropriated to third parties.

       FIB argues Christensen had deep knowledge of the specific terms of FIB’s customer

accounts, including deep knowledge of Bighorn Airways’ account as well as in-depth

knowledge about the customers handled by her subordinates. FIB also argues Hubert and

Newman also used their remembered information to solicit FIB customers. Finally, FIB

argues Martinson had intimate knowledge of customers’ financial condition,

circumstances, and business needs, and prepared a list of FIB customers (and for some,



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amounts and some terms of loans), and solicited around twenty FIB customers to obtain

their business for Glacier. 4

        In reply, Christensen argues FIB has no evidence that she solicited any customer,

but merely communicated to them that she had left FIB and went to Glacier. As to Bighorn

Airways specifically, its Vice President provided a sworn declaration to this effect. ECF

122-4. He further states that Bighorn Airways provided copies of banking documents to

Christensen after she went to work for Glacier, and that its decision to enter a lending

relationship with Glacier was based solely on Bighorn Airways best interests. Id. ¶¶ 6, 7.

Further, Hubert states he had a general conversation with one client but informed that client

shortly thereafter that Glacier was not interested in his business. ECF 116, p. 7. Newman

states customers reached out to her about doing business together, and she solicited no one.

ECF 119, p. 8. Martinson states several companies and individuals he contacted were not

FIB clients, that he knew nearly all of them personally outside his work for FIB, and that

the list did not reflect FIB loan terms but represented Martinson’s estimations of those

customers’ potential business. ECF 117, pp. 5-6.

        All four Defendants also argue FIB has no evidence to suggest the mere identities

of the customers were trade secrets, and that many FIB borrowers and related loan terms

are listed on commercially available reports (e.g., S&P Global Market Intelligence

records). ECF 122. Finally, Defendants argue that FIB’s arguments sweep too broadly and




4
 FIB points out that Martinson told around twenty FIB customers that he was “starting a new bank and if we can help
you at some point in the future, we’d love to have the opportunity.” ECF 104, pp. 25-26.

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would basically allow FIB to benefit from a non-compete agreement which was never a

part of Defendants’ employment relationship with FIB.

       In first considering whether the identity of a FIB customer is a trade secret, this case

is unusual in that there is no so-called “confidential customer list,” whether marked as such

or generally understood as a confidential list. FIB is a financial institution, open to the

public, where depositors and borrowers come and go in an open environment. Certainly,

account and financial information about FIB’s customers is confidential, but that doesn’t

support the claim that all FIB customer identities are confidential. Indeed, Defendants

provide evidence that some client identities are readily ascertainable by others. While FIB

relies on cases which found that some customer lists are confidential, none of those cases

present facts like this one.

       Further, while FIB discusses its “sizable body of confidential and frequently

sensitive business and customer information,” and the efforts it takes to maintain secrecy

and confidentiality, FIB lumps all information about customers into general phrases such

as “business information” and “financial information.” This is insufficient for the Court to

find a triable issue of fact that the mere identities of these FIB customers were subject to

reasonable measures of secrecy by FIB.

       Finally, if identities were FIB’s trade secrets, the Court agrees with Defendants that

Defendants did not misappropriate this information. Newman was contacted by former

customers, so she did not use remembered secrets for improper solicitation or any other

misappropriation. The other three Defendants did not misappropriate the client identities

by merely telling FIB customers that they had joined Glacier, or even by expressing an

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interest in the opportunity to help FIB customers in the future. As to Martinson’s “list,”

FIB presents no evidence that contradicts Martinson’s statement that the information

beyond some of the names represented “potential” business, not confidential FIB loan

amounts and terms.

       Further, the Court would note that the communications Defendants had, whether

elicited by them or others, did not constitute “solicitation” as that word is commonly

understood. Common, relevant definitions of “solicit” include “(a) to make a petition, to

entreat; (b) to approach with a request or plea; (c) to urge (something, such as one’s cause)

strongly; … [and] (d) to try to obtain by usually urgent requests or pleas.” See

https://www.merriam-webster.com/dictionary/solicit (last visited July 13, 2022). Not even

Martinson’s statement saying, “if we can help you at some point in the future, we’d love

to have the opportunity” satisfies this definition. ECF 104, pp. 25-26.

       Finally, as to the remaining intimate knowledge of customers’ financial condition,

circumstances, and business needs, FIB advances no evidence or argument about any

disclosure or use of this intimate knowledge to solicit customers, or for any other unfair

competitive advantage for Defendants or Glacier. Certainly, customers know lender

representatives have this intimate knowledge, and it is not unusual for customers in any

sector to follow their friends and/or service providers, in part because of the providers’

knowledge of customer needs. It is unrealistic to expect customers to forget their service

relationship with another, just as it is unrealistic to expect Defendants to forget the

knowledge they gained with their former employer.           Had FIB wished to preclude

Defendants from leaving to compete by taking employment with another financial

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institution, FIB could have proposed an enforceable non-compete agreement. The Court

will not recognize a nonexistent non-compete agreement under the guise of “remembered

secrets.”

       The Court will next address each Defendant’s actions in printing specific

documents, with FIB’s response and the Court’s conclusions:

Defendant Hubert

       FIB does not address the amortization schedule and security agreement for the loan

Hubert personally made after FIB declined to extend credit to the customer. Thus, the

Court agrees with Hubert that FIB is not the owner of these two documents for trade secret

consideration. The third document is identified by Hubert as a loan approval form which

Hubert said he printed because he was required to physically initial it to override a loan

denial for that customer. By declaration, Hubert states he did not take, retain copies of, or

use that document after he left FIB.

       FIB argues Hubert’s failure to respond to FIB’s pre-litigation request to confirm he

had not taken confidential information is circumstantial evidence that he did so. FIB argues

this inference combined with all Defendants’ suspicious, simultaneous departures create

questions of fact sufficient for jury consideration. Hubert replies that circumstantial

evidence is insufficient to rebut his sworn declaration, especially given that FIB did not

locate the document through discovery from Hubert or Glacier and did not contradict or

rebut Hubert’s explanation for printing the document. FIB inspected all of Defendants’

offices shortly after their departures (including Hubert’s, ECF 106-19, Bruni Depo. at 111-



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112) and found only one page in an unidentified office. ECF 82 (Jensen Dec. ¶ 4(d)). 5 But

this is insufficient to raise a material fact dispute. It is speculative whether the document

was not found in Hubert’s office because he’d taken it with him, had it discarded/shredded

after its use in the loan approval, or someone with FIB discarded/shredded it before FIB

gave instructions to inspect the offices and retain documents. 6 Finally, Hubert argues that

a response was provided to FIB on Hubert’s behalf, so it is false to claim he did not fail to

respond to FIB’s pre-litigation demand letter. ECF 103-3.

         Viewing the evidence in the light most favorable to FIB, the Court agrees with

Hubert that he has satisfied his burden for summary judgment on these statutory

misappropriation claims, given that FIB has not brought forward specific facts showing a

genuine issue for trial.            In short, FIB’s suspicions, speculation and conjecture are

insufficient to rebut Hubert’s uncontradicted and plausible explanation for printing the loan

approval form and his uncontradicted evidence that he did not take, disclose, or use the

loan approval form after his departure. Additionally, FIB received a response to its pre-

litigation demand, so there is no appropriate adverse inference that documents were

misappropriated. Therefore, the Court will dismiss FIB’s First and Second Claims for

Relief as pled against Hubert.

Defendant Christensen

         Christensen states that 10 of the 17 documents she printed were FIB policies,



5
  None of the materials FIB cites regarding the office inspections state when they occurred, other than “shortly after”
Defendants departed. FIB’s response suggests that the single page was in Newman’s office, but cites only the Jensen
Declaration in support. ECF 104, p. 15.
6
  The same is true as to each Defendant.

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guidelines or tutorials that did not mention any FIB customers. She explained it was her

practice to print policies and guidelines, which had been recently updated, and that she

wanted the tutorials to help her loan processors to become credit analysts with FIB. Two

other documents were printed to ensure the spreadsheet she used for tracking letters of

credit on FIB’s system was updated. Another document was a loan approval form needed

to complete a loan commitment letter for the SBA on behalf of FIB. The loan closed and

remained at FIB. The remaining printed documents (whether by Christensen herself or by

Defendant Phelps at Christensen’s request) all related to Bighorn Airways. According to

Christensen, these printed documents were needed for scanning into Director (FIB’s

electronic loan file system), to ensure that Bighorn Airways’ loan files were complete in

preparation for a credit review. By sworn declaration, Christensen stated all documents

were shredded before she left FIB, and that she did not retain, take, or use the documents

at Glacier.

       In response, FIB argues virtually all documentation associated with a credit review

is digitized and FIB does not ask or expect any documents in printed form, and all review

and analysis is online so credit examiners would have no reason to request or require

printed documents. All loan-related documents are stored in Director. As to the two

documents printed to ensure the spreadsheet used for tracking letters of credit were

updated, FIB states the spreadsheet was not brought current when Christensen left. As to

the loan approval form needed for a loan commitment letter for the SBA, FIB reviewed

Director and Christensen did not issue a loan commitment letter. FIB states the Bighorn



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Airways documents were not, as Christensen claims, entered into Director and that Bighorn

Airways was not in a credit review.

       In reply, Christensen states the Bighorn Airways documents were not printed until

the last business day she was at FIB; thus, it is unsurprising that the scanning may not have

been completed before she left. She also states the contract tracking spreadsheet was not

part of the loan file, so it is not in Director but rather in a separate shared drive. In

addressing the loan approval form needed to complete the loan commitment letter,

Christensen states that this, too, was one of the last things she did before her resignation,

and the loan file may not have been updated by someone else. Finally, Christensen argues

that FIB has found no documents through discovery from her or from Glacier, and that

FIB’s investigation after her departure did not include any search of the shredder bins,

which is what she used to discard the documents she printed.

       FIB does not address the FIB policies, guidelines, or tutorials other than to generally

state that FIB does not ask or expect any documents to be printed and to argue that other

states have found underwriting guidelines, business plans and marketing strategies to be

trade secrets. FIB offers no evidence that the FIB policies, guidelines, and tutorials contain

such sensitive business plans, strategies, or determinations.           Without more than

generalities, the Court concludes these documents are not trade secrets misappropriated by

Christensen.

       Turning to the remaining documents at issue and viewing the evidence in the light

most favorable to FIB, the Court agrees with Christensen that she has satisfied her burden

for summary judgment on these statutory misappropriation claims. FIB has not brought

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forward specific facts showing a genuine issue for trial. FIB’s generalized statements that

it doesn’t ask or expect documents to be printed does not rebut Christensen’s plausible

explanations for why these documents were printed. FIB’s evidence and arguments

attempt to contradict Christensen’s explanation for why the documents were printed, in an

effort to argue these contradictions and the mass resignations are circumstantial evidence

that the documents weren’t printed for Christensen’s work for FIB, but rather to disclose

and/or use the documents for Glacier’s benefit. However, FIB has no evidence that the

documents were taken, let alone disclosed and used for Glacier’s benefit. Even if the

documents weren’t needed or ultimately used to update or complete other documents, or

to upload into Director, which the Court does not conclude, FIB has absolutely no evidence

beyond its suspicions, speculation, and conjecture to show they were disclosed to Glacier

or used for Glacier’s benefit, or to contradict Christensen’s evidence to the contrary. No

reasonable jury could find in FIB’s favor on the facts it has presented. Therefore, the Court

will dismiss FIB’s First and Second Claims for Relief as pled against Christensen.

Defendant McComb

       McComb printed a copy of a Meeting Agenda which included action items from a

market level team call. He explains that this was printed for his reference and left in his

FIB office. The second printed document was a set of notes from a conference, which he

used to develop a PowerPoint for a FIB leadership team presentation. McComb left that

document in his office. ECF 96, pp. 8-9. FIB does not specifically address these two

documents, and otherwise does not identify trade secrets which McComb acquired by

improper means, or which McComb disclosed to Glacier or used for Glacier’s benefit.

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Therefore, the Court will dismiss FIB’s First and Second Claims for Relief as pled against

McComb.

Defendant Martinson

       Martinson printed two spreadsheet reports listing notes that were maturing or that

were past due, which was his common practice for review, tracking and follow-up with

customers. By sworn declaration, Martinson states all other ten documents were printed

because they required physical signatures. ECF 95, p. 8. According to Martinson, none of

the documents related to customers who left FIB for Glacier. He states he did not take any

documents with him when he left FIB or use any FIB confidential information or trade

secrets in his work for Glacier. Id.

       FIB responds stating FIB’s customary business practices do not require physical

signatures as these forms can be approved electronically. As to one form (Waiver,

Amendments and Modification (“WAM”) form), FIB argues Martinson never followed up

on this while he was an FIB employee, and that the client was not on FIB’s “pull” list which

identifies loans that will be the subject of review. ECF 104, pp. 13-14. Another document

was a personal financial statement (“PFS”) for FIB clients, and FIB states there was no

signed PFS from the clients in Director and these clients also were not on the “pull” list.

Further, FIB states another document which Martinson states he printed, signed, and gave

to the title company was also not in Director. ECF 104, p. 14. Finally, FIB argues that

Martinson solicited clients from the list he compiled which reflected FIB loan terms, which

contradicts Martinson’s testimony that he did not use FIB confidential/trade secret

information for his work with Glacier.

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       Martinson replies to say that FIB’s response creates no disputed issue of fact as it

was common for FIB employees to print documents in connection with their work duties,

and FIB provides no evidence to dispute Martinson’s testimony that he did not take or

otherwise retain any of the printed documents or use them for his work at Glacier or against

FIB’s interests or disclose them to a third party. Further, Martinson never stated he printed

documents for a credit review, so it doesn’t matter that the clients weren’t on FIB’s “pull”

list. Martinson also states he is not responsible for recordkeeping errors related to

documents that FIB could not locate in Director, and the document he printed and signed

was given to the title company, so Martinson did not testify that it was scanned into

Director. Finally, Martinson states several companies and individuals he contacted were

not FIB clients, that he knew nearly all of them personally outside his work for FIB, and

that the list did not reflect FIB loan terms but represented Martinson’s estimations of those

customers’ potential business. ECF 117, pp. 5-6.

       Viewing the evidence in the light most favorable to FIB, the Court agrees with

Martinson that FIB’s response creates no disputed issue of fact as it fails to contradict

Martinson’s explanation for why documents were printed for his work at FIB and gives

rise to no dispute or inference relating to any improper acquisition or misappropriation of

trade secrets. As the Court has previously addressed Martinson’s “list” and the alleged

solicitation, the Court will not discuss that argument further other than to conclude that it

also fails to create a disputed issue of fact for the jury as to misappropriation of trade

secrets. Therefore, the Court will dismiss FIB’s First and Second Claims for Relief as pled

against Martinson.

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Defendant Dick

      In the 85 documents FIB claims Defendants printed shortly before they left FIB,

FIB lists 9 documents that Dick allegedly printed. By sworn declaration, Dick states with

one exception, he did not bring any of those documents or any other confidential FIB

document with him or retain copies when he left FIB. ECF 93, p. 7. Dick further states

none of the documents mentioned a customer that left FIB for Glacier. Id. The one

exception of a printed document he took was a cash conversion cycle worksheet that he

created after removing client-identifying information before printing. Dick states he

destroyed that printed document as requested by FIB’s counsel in the pre-litigation

demand. Id. Dick argues none of the documents he allegedly printed contain FIB trade

secrets, and FIB has no evidence he misappropriated any of the documents.

      FIB addresses three documents it claims Dick printed shortly before he left FIB – a

FYE Covenant Check which Dick claimed he printed to sign a letter to go to the client for

signature so it could be scanned into the system; a WAM form which Dick claimed he

printed to sign and then scan; and the worksheet discussed above. FIB states no letter,

form or spreadsheet were found in Director.      As to the worksheet, FIB argues the

explanation of why Dick printed the worksheet (to keep the math compilations and hidden

text) is inconsistent with how Excel functions as the printed document does not provide

data or formulas. ECF 104, pp. 14-15, 19.

      By reply, Dick argues the WAM form is not on the list of allegedly trade secret

documents that FIB claims Dick misappropriated, and he is not responsible for any

recordkeeping error in scanning the document into Director. Dick also argues FIB’s

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response to his statement of facts does not undermine or contradict his stated, legitimate

reasons for printing the documents. As to the worksheet, Dick states the document would

not have been uploaded to Director because it was not part of the loan file. Further, because

Dick personally created the worksheet, he would have understood the relationship between

the numbers without an electronic copy that reveals underlying formulas and data.

       Without addressing the issue of whether any evidence exists to show that the

documents are trade secrets, the Court agrees with Dick that FIB offers no evidence to

show improper acquisition or misappropriation. Therefore, the Court will dismiss FIB’s

First and Second Claims for Relief as pled against Dick.

Defendant Newman

       FIB claims Newman printed five documents shortly before she left FIB. By sworn

declaration, Newman states two of the documents were spreadsheet reports listing notes

that were maturing within 120 days. Newman states it was her regular practice to print

these reports to make notes, highlight, and document conversations as she worked on loan

renewals. She states one of the documents printed was a list of loans, which she printed to

annotate the appropriate points of contact for the loans to benefit her successor at FIB.

Newman states she left this on her back credenza in the FIB office. Another document was

a Paycheck Protection Program application form which was printed for an FIB client to

review and make updates to complete the application. The last document was printed for

an FIB customer for his use in creating an updated personal financial statement for a new

loan request, which FIB ultimately denied. She states that she did not take or use any of

the documents, or any other document after she left FIB. ECF 97, pp. 7-8. Newman argues

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FIB has no evidence showing that any of the documents she printed contain trade secrets,

and FIB has no evidence showing misuse or misappropriation.

       FIB contests Newman’s declaration by stating the individual financial statement for

the new loan request is contested because a loan was never sent to FIB for credit approval

or processing. As to the list of loans printed for annotation, FIB contests this fact stating

there was no need to print this type of list as the information was available on Director and

other FIB databases and, with one exception, no documents were left on the credenza. As

with Martinson, FIB argues the timing of the decision to print these documents gives rise

to reasonable inferences about the legality or propriety of Newman’s actions that must be

resolved by a jury. Finally, FIB argues Newman solicited FIB customers after she left FIB.

ECF 104, pp. 15-16.

       By reply, Newman argues FIB does not contradict Newman’s explanation for why

these documents were printed, and FIB has no evidence of misuse or misappropriation. As

to the financial statement for a new loan request, Newman states the application was not

sent to the standard credit approval queue, but to FIB’s Commercial Lending Center, and

was ultimately denied. Newman also states the document was printed before she even

knew about the possibility of a job at Glacier, thereby negating any nefarious inference. As

to the spreadsheet containing a list of loans, Newman states this document may have been

the one exception of documents found by FIB, and FIB never searched Newman’s office.

Finally, Newman states while the spreadsheet contains information in Director, she printed

it to add her annotations, which were not obvious from the spreadsheet itself. Finally,

Newman contests that she ever testified she solicited customers, but only told one customer

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she left and who the customer should contact at FIB, and she had contact with another, not

that she solicited business. As to the other customers FIB lists, Newman states those

customers sought her out, and Newman made no initial contact. ECF 119, pp. 4-5.

       As with other Defendants, the Court agrees with Newman that FIB offers no

evidence to show improper acquisition or misappropriation of trade secrets. FIB’s

arguments about an inference based on timing and solicitation are not persuasive given

Newman’s response, and the Court find this argument inadequate to create a material

question of fact for the jury. Therefore, the Court will dismiss FIB’s First and Second

Claims for Relief as pled against Newman.

Defendant Phelps

       FIB identified 37 documents that Phelps allegedly printed. Phelps argues FIB’s

computer forensic expert was unable to correlate print log entries for 22 of the 37

documents that Phelps allegedly printed with any specific FIB confidential or proprietary

documents. ECF 98, p. 6. Further, Phelps states only one of the 15 remaining documents

relates to a customer that left FIB for Glacier, and this document was printed two weeks

before Phelps knew of the possibility of working for Glacier. Id. Phelps addresses other

documents as well, including floor plan inspection sheets, which she states were printed

for use in conducting a physical inspection of the customer’s inventory of automobiles in

connection with a floor plan loan, and that this was part of her job duties. She states paper

copies were required because she had no laptop or other device to view the inventory list

while at the dealership. Other documents were printed at the request of Christensen or

Martinson, for signature, for easier review, or for credit review examination (Bighorn

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Airways). Other documents were printed in connection with disbursement requests on

construction loans, to train another employee on processing construction loan draw

requests, to complete a checklist and input a worksheet for scanning into FIB’s system, to

obtain lien waivers from contractors, and for customer signatures, review and/or correction,

which was her regular practice. Phelps stated she did not take or use any of the documents

identified or any FIB confidential information. ECF 98, pp. 7-9.

       In response to Phelp’s statement of facts, FIB states that prior to leaving FIB, Phelps

emailed FIB’s confidential documents to her personal email account and could not explain

why that email was sent. FIB also states that Phelps could not recall the reason why she

printed a promissory note for one customer or why she printed a Bighorn Airways balance

sheet. ECF 104, p. 19.

       In reply, Phelps argues FIB’s response provides no evidence that any of the

documents contain trade secrets, and no evidence to contradict Phelps’ explanation for why

documents were printed for her work at FIB or at the request of Christensen. Finally, as to

the statement that Phelps emailed FIB’s confidential documents to her personal email

account, Phelps argues that statement is false in that those documents are not confidential.

Phelps states one document was a standard mortgage release form that had been prepared

for recording in public property records, another was a list of fees associated with various

public real estate or security filings, and the last was a recitation of standard language that

would appear in various types of public UCC financing statements. Phelps argues none of

those documents are on the list of confidential, proprietary, or trade secret documents that

FIB claims Phelps misappropriated, and none contain such information.

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       Viewing the evidence in the light most favorable to FIB, the Court agrees with

Phelps that FIB offers no evidence to show improper acquisition or misappropriation of

trade secrets. FIB’s arguments about Phelps’ deposition testimony are not evidence or

inference of either improper acquisition or misappropriation of trade secrets for purpose of

raising a material question of fact for the jury, and the Court agrees with Phelps that the

documents sent by email do not contain confidential information, let alone trade secrets.

Therefore, the Court will dismiss FIB’s First and Second Claims for Relief as pled against

Phelps.

   2. Misappropriation-Based Tort Claims and Breach of Contract Claim (Fourth
      and Fifth Claims)

       FIB brings a conversion claim against all Defendants as to the alleged

misappropriation by Defendants of its information, including allegations that Defendants

have used this information and refused to return it to FIB. ECF 1, p. 12. FIB also brings a

contract claim, alleging breach of its Code of Conduct. ECF 1, pp. 11-12.

       Based on the same reasons discussed above for FIB’s statutory claims, the Court

concludes that FIB has presented no disputed issue of fact for the jury on the alleged

misappropriation of FIB information. On the alleged breach of FIB’s Code of Conduct,

that claim requires evidence that Defendants used confidential information for their

personal gain or to compete with FIB, or that Defendants shared confidential information

with someone or an entity who has no legitimate Company business need to know, or that

Defendants forwarded confidential information to personal email accounts. For the same

reasons discussed above, the Court concludes FIB has presented no disputed issue of fact


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for the jury on the allegation that Defendants shared or used confidential information

contrary to the Code of Conduct.

         Finally, the only Defendant who forwarded any document to a personal email

account was Defendant Phelps. The Court agrees with Phelps that FIB fails to show a

disputed issue of fact concerning Phelps’ testimony that the documents did not contain

confidential information. Based on Phelps’ uncontradicted testimony, the documents did

not contain information “about [FIB] clients, employees, business partners and others”

which is required to satisfy FIB’s definition of confidential information in its Code of

Conduct. ECF 1-1, p. 14.

    3. Breach of Duty of Loyalty (Claim Three)

         FIB alleges breach of duty of loyalty against Defendants Hubert, McComb,

Christensen and Martinson, claiming each of these Defendants were officers of FIB who

exercised substantial responsibility for the operations of either the commercial banking unit

or the home loans unit of FIB, and thus owes a duty of loyalty to FIB which they breached

by together and individually orchestrating the mass departure from FIB to further Glacier’s

business interests. 7 ECF 1, pp. 10-11.

         Seeking judgment in their favor, Defendants argue they were at-will employees

which weighs against finding any duty, and FIB has no evidence that their simultaneous

departures had any substantial impact on FIB operations beyond the impact that



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  FIB also include allegations against these Defendants that they used confidential customer lists to solicit business
for Glacier. The Court has previously addressed these allegations and rejected them on the basis that FIB has failed
to create any dispute of fact that these Defendants misappropriated trade secrets, improperly disclosed confidential
information, or solicited FIB clients.

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Defendants’ individual departures would have had, and because the employees brought in

to replace them earned no additional salary beyond what would have otherwise been paid

by FIB. Further Defendants argue FIB can present no evidence that they lost any business

due to a lack of personnel available to service customers. Finally, Defendants argue there

was no recruitment of others to leave as the evidence is undisputed that each Defendant

had his or her personal reasons for leaving FIB, from dissatisfaction to salary increases and

improved quality of life.

       In response, FIB argues these Defendants seek to impose additional elements for a

breach of duty of loyalty claim that are not required under Wyoming law, and that this

Court has previously held that an employer has a viable claim if its employees “agree to

leave their employment simultaneously and without giving the employer an opportunity to

hire and train replacements.” According to FIB, that is precisely what these Defendants

did. ECF 104, p. 32. Further, FIB states it suffered real harm from Defendants’ orchestrated

departure because FIB lost customers “due to the impairment of FIB’s ability to provide a

reliable and efficient transition to a new or another FIB employee who was conversant with

the business needs and financial condition of the customer.” Id., p. 33. FIB argues other

conduct which it claims shows an intent to injure FIB including: (1) the orchestrated,

simultaneous resignation of key employees of an FIB branch without any advance notice;

(2) the recruitment of other employees to join Glacier, the information provided to Glacier

about employees under their supervision who were available to be recruited, and the failure

to dissuade the employees they supervised from seeking employment with Glacier; (3) the

lies (and failure to inform FIB) about Glacier’s efforts to recruit FIB’s employees; and (4)

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the assistance provided to Glacier in finding a suitable location during their employment

with FIB. 8

         In reply, these Defendants argue there is no evidence that any FIB employees were

“solicited” or “recruited” to leave FIB for Glacier, and that the evidence merely shows they

were aware of and discussed this opportunity among themselves. ECF 114, p. 9. Further,

there is no evidence of loss of customers, and no duty for Defendants to affirmatively

disclose their own or anyone else’s consideration of job opportunities at Glacier.

         As to the law governing this duty of loyalty, in addition to other cases, all parties

argue the Restatement (2d) of Agency § 393, comment (e) and this Court’s order in Balfour

Beatty Infrastructure Inc. v. American Track Generations LLC, 533 F. Supp. 3d 1030 (D.

Wyo. 2020):

         e. Preparation for competition after termination of agency. After the
         termination of his agency, in the absence of a restrictive agreement, the agent
         can properly compete with his principal as to matters for which he has been
         employed. See § 396. Even before the termination of the agency, he is
         entitled to make arrangements to compete, except that he cannot properly use
         confidential information peculiar to his employer's business and acquired
         therein. Thus, before the end of his employment, he can properly purchase a
         rival business and upon termination of employment immediately compete.
         He is not, however, entitled to solicit customers for such rival business before
         the end of his employment nor can he properly do other similar acts in direct
         competition with the employer's business.

         The limits of proper conduct with reference to securing the services of fellow
         employees are not well marked. An employee is subject to liability if, before
         or after leaving the employment, he causes fellow employees to break their
         contracts with the employer. On the other hand, it is normally permissible for
         employees of a firm, or for some of its partners, to agree among themselves,
         while still employed, that they will engage in competition with the firm at

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 FIB also discusses the disclosure of confidential information and misappropriation of trade secrets as additional
conduct, which the Court has addressed above and will not include in this list.

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       the end of the period specified in their employment contracts. However, a
       court may find that it is a breach of duty for a number of the key officers or
       employees to agree to leave their employment simultaneously and without
       giving the employer an opportunity to hire and train replacements.

Id. at 1035-36 (citing Restatement (2d) of Agency § 393, comment (e)).

       In first addressing the Balfour Beatty case, the Court’s order decided a motion to

dismiss, not a summary judgment motion. Further, the Court denied Defendants’ motion

because Plaintiff’s allegations went beyond lawful preparations to compete, including

allegations of the use of confidential information, the delay of customer business until after

Defendants’ departure with the intent to take Plaintiff’s customers, and the recruitment of

Plaintiff’s employees.

       In considering the arguments made by the parties, the Court agrees with Defendants

that they had no duty to inform FIB about Glacier’s efforts to recruit them or others, and

they had no duty to dissuade the employees they supervised from seeking employment with

Glacier. While FIB argues Defendants lied about Glacier’s efforts to recruit them or others,

Defendants had no duty to volunteer this information. See Abraham Zion Corp. v. Lebow,

593 F. Supp. 551, 571 (S.D.N.Y. 1984), aff’d, 761 F.2d 93 (2d Cir. 1985) (citation omitted)

(“employees were under no duty to notify their employer of their plans and preparations

[to compete] since to have done so would have made the right to engage in such conduct

meaningless”); White Cap. Indus., Inc. v. Ruppert, 67 P.3d 318, 319-320 (Nev. 2003)

(“since an employee does not breach his duty of loyalty by making preparations to compete,

a fellow employee does not breach his duty of loyalty by failing to disclose his knowledge

of this fact”). Further, it appears as though only Hubert was asked whether FIB was at risk


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of losing employees, and Hubert admits he did not tell his supervisor Bruni that he and

others were engaged in discussions with Glacier. However, it is uncontradicted that both

Bruni and Destefano knew from Hubert’s statements or otherwise that the commercial team

was unhappy and FIB had a risk of turnover. Again, Hubert had no duty to say more than

he did.

          Further, FIB provides no law suggesting Defendants had any duty to refuse to

discuss with Glacier the names of FIB at-will employees under their supervision who may

be interested in job opportunities with Glacier. As to looking for a suitable site for

Glacier’s bank, this falls within the proper scope of conduct for employees who are

preparing to leave, and FIB identifies no case to the contrary. See Auxton Comput. Enter.,

Inc. v. Parker, 416 A.2d 952, 955 (N.J. Super. 1980) (an employee who is not bound by a

covenant not to compete and who doesn’t solicit his employer’s customers or do other

similar acts in direct competition with his employer’s business, “may, while still employed,

make arrangements for some new employment by a competitor or the establishment of his

own business in competition with his employer”).

          As to the conclusory claims that these Defendants “recruited” or “solicited” others

to resign, FIB advances no evidence to support such a claim and Defendants have testified

to the contrary.      Further, even assuming some evidence supports an inference of

recruitment or solicitation, FIB provides no authority applicable to an at-will employment

situation which found a breach of the duty of loyalty based on this allegation, and the cases

interpreting the Restatement suggest employees can cause their fellow employees to leave



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employment provided that the recruited employee does not break their contracts with the

employer.

       As noted, all Defendants were at-will employees and there was no contract to

“break.” Indeed, the Restatement provides that it is normally permissible for employees to

agree among themselves, while still employed, that they will engage in competition before

they quit work and leave together for another employer. See Quality Sys., Inc. v. Marman,

132 F. Supp. 2d 349, 354 (D. Md. 2001) (no breach of duty by a manager and employees

in the manager’s circle to discuss joint employment opportunities and resolve to leave

together); Cudahy Co. v. Am. Labs., Inc., 313 F. Supp. 1339, 1346-1347 (D. Neb. 1970)

(no breach by making plans to set up competing corporation which still employed by

plaintiff, and notifying plaintiff’s customers of their intention); USI Ins. Servs. Nat’l, Inc.

v. Ogden, 371 F. Supp. 3d 886, 898-99 (W.D. Wash. 2019) (no breach when husband and

wife coordinated their departure from the company together).

       This leaves FIB’s last basis for this claim, namely that these four key officers agreed

to leave their employment simultaneously and without giving FIB an opportunity to hire

and train replacements. For the following reasons, the Court concludes there are sufficient

genuine issues of fact for this basis of Claim Three to survive summary judgment as to

Defendants Hubert, Christensen, and Martinson, but not as to Defendant McComb.

       First, there is no dispute that all four Defendants were key FIB officers who left

their employment on the same day and without giving FIB an opportunity to hire and train

replacements. Defendants Hubert, Christensen and Martinson were present at the meeting

in Hubert’s home along with Dick, Newman, and Phelps who were also members of the

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Commercial Lending Group. During that meeting, Hubert and Christensen said they

believed FIB intended to terminate them the next day and stated that they decided to submit

their resignations the next day.

         Considering the evidence in the light most favorable to FIB, this can be viewed as

agreeing to leave their FIB employment simultaneously even if their individual reasons for

leaving differed. Further, these three key officers knew the decision to leave on the same

day would not afford FIB an opportunity to hire and train replacements for the Commercial

Lending Group. The three key officers also knew that those present in Hubert’s home that

day constituted nearly all of the Sheridan branch’s commercial lending team. These

Defendants do not dispute that they were “a strong, coherent group, and the group had

greater value as a team than individually.” ECF 104, p. 33. Because virtually everyone in

the Commercial Lending Group present at the meeting had either voiced an intent to resign

or should have known the members would resign on Monday, 9 these three officers could

reasonably foresee that all resignations on the same day and without notice would impact

if not hamstring that lending group’s ability to continue functioning at an optimum level,

at least in the short term, in order to address commercial customers’ banking needs. The

Court views these facts as sufficient for the issue of breach of duty to go to the jury as to

Hubert, Christensen, and Martinson.




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  From the fact that Hubert and Christensen openly expressed their belief that they would be fired and had decided to
resign Monday, it appears reasonably foreseeable that these statements could influence the timing of the resignations
of the other members of the Commercial Lending Group – Martinson, Dick, Newman, and Phelps. With this
observation, the Court also notes Phelps’ statement that, before the meeting in Hubert’s home, she had already decided
to resign that Monday.

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      As to McComb, while he was a key officer, he was not at the meeting in Hubert’s

home, he was in a separate reporting line from the Commercial Lending Group, and his

decision to resign would not affect the strong, coherent commercial lending team. Further,

while presumably McComb had value to FIB as an officer and employee, as an individual

he lacked the “greater value” of a strong, coherent group, and his Home Loans Group

would still remain intact following his departure. In short, FIB provides no evidence to

contradict the point that McComb’s resignation would have the same impact on FIB

whether it occurred on March 22 or any other day, in terms of suggesting evidence of a

unique impact beyond just an individual officer’s resignation. Had FIB desired a specific

term for McComb’s employment, which would have given FIB protection against his

resignation at any time, FIB could have proposed such a contractual relationship with

McComb rather than an at-will employment situation. Therefore, the Court will dismiss

Claim Three as to Defendant McComb.

   4. Tortious Interference with FIB’s Contractual Relations (Claim Six)

       FIB alleges Defendants used misappropriated information about two if not more

important customers of FIB in their new positions at Glacier to compete with FIB for those

customers’ banking needs. FIB alleges Defendants attempted to induce those customers to

borrow from Glacier and terminate their business relationship with FIB or reduce the scope

of that relationship. FIB also alleges Defendants made misrepresentations to FIB clients

and business partners that FIB is being sold or leaving the market, to interfere with FIB’s

economic relationships. ECF 1, pp. 12-13.



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       Seeking judgment in their favor, Defendants argue they merely engaged in

legitimate competition and FIB has no admissible evidence that they engaged in any

improper means to interfere with FIB’s existing or prospective business relations. See

Wilder v. Cody Country Chamber of Com., 868 P.2d 211, 225 (Wyo. 1994) (“legitimate

competition does not result in intentional interference with prospective contractual

relations”). As to Christensen specifically, she states that she told Bighorn Airways a true

fact at the time, that FIB would likely not provide “speculative” aircraft loans, which is

exactly what FIB’s credit officer told her. Further, Christensen states FIB offered Bighorn

Airways improved loan terms and financing before the company changed lenders, and

Bighorn Airways still decided to change. ECF 92, p. 25.

       In response, FIB argues it has submitted evidence showing that Defendants

misappropriated FIB’s confidential information. Having found that FIB has not presented

triable issues of fact precluding summary judgment on FIB’s statutory and tort-based

misappropriation claims, this basis will not support a claim against Defendants for tortious

interference. FIB argues no other basis in support of this claim against Defendants.

Therefore, the Court will dismiss FIB’s Sixth Claim for Relief.

                                        Conclusion

       For the foregoing reasons, the Court finds and concludes that there are no triable

issues of fact precluding summary judgment as to any claims pled by Plaintiffs against

Defendants with the exception of the Third Claim for Relief, Breach of Duty of Loyalty

Against Defendants Hubert, Christensen, and Martinson. Accordingly, the Court hereby

Orders that:

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      Defendant Hubert’s Motion for Summary Judgment (ECF 87) is GRANTED IN

PART AND DENIED IN PART and all Claims for Relief are DISMISSED except the

Third Claim for Relief – Breach of Duty of Loyalty; and

      Defendant Christensen’s Motion for Summary Judgment (ECF 85) is GRANTED

IN PART AND DENIED IN PART and all Claims for Relief are DISMISSED except the

Third Claim for Relief – Breach of Duty of Loyalty; and

      Defendant Martinson’s Motion for Summary Judgment (ECF 88) is GRANTED IN

PART AND DENIED IN PART and all Claims for Relief are DISMISSED except the

Third Claim for Relief – Breach of Duty of Loyalty; and

      Defendant Dick’s Motion for Summary Judgment (ECF 86) is GRANTED, and he

is DISMISSED; and

      Defendant McComb’s Motion for Summary Judgment (ECF 89) is GRANTED, and

he is DISMISSED; and

      Defendant Newman’s Motion for Summary Judgment (ECF 90) is GRANTED, and

she is DISMISSED; and

      Defendant Phelps’ Motion for Summary Judgment (ECF 91) is GRANTED, and she

is DISMISSED.

      Dated this 15th day of July, 2022.




                                 NANCY
                                 NANCCY D.
                                        D FREUDENTHAL
                                           FREUDENTHA
                                 UNITED STATES SENIOR DISTRICT JUDGE



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